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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          WAYCROSS DIVISION


UNITED STATE OF AMERICA
                                            CASE No.: 5:21-CR-009
V.

JUANA IBARRO CARRILLO


                 GOVERNMENT’S REPLY TO DEFENDANT’S
                    OBJECTION TO MOTION (DOC. 98)

      As provided in the Government’s Motion (Doc. 98), the authority to maintain

custody of the lawfully restrained assets fall within two statutory frameworks, (1) 18

U.S.C. § 983, and (2) 21 U.S.C. § 853.

      In the matter at hand, Defendant Juana Ibarro Carrillo (hereinafter, the

“Defendant”) has objected (Doc. 280) to the Government’s motion, and request relief

with regard to the following assets:

      1. One (1) bag of assorted jewelry seized from 423 W. 12th Street, Alma,
         Georgia containing:
             a. Four (4) rings,
             b. Five (5) bracelets,
             c. Two (20 collections of earrings, and
             d. One (1) necklace
      2. One (1) long pink box of miscellaneous jewelry
      3. Eighteen (18) Nike shoe boxes containing cash bundles in the total
         amount of $189,200.00 in U.S. Currency
      4. Eighteen (18) Easter bags containing cash bundles in the total amount of
         $62,480.00 in U.S. Currency
      5. $4,400.00.00 in U.S. Currency from 130 Red River Lane Alma, Georgia
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       6. $20,432.00 in U.S. Currency seized from 163 Johnson Lake Road, Alma,
          Georgia
       7. $60,825.00 is U.S. Currency seized from the Safe Deposit Box 113 at FNB
          South, Alma, Georgia
       The aforementioned assets were seized on or about November 17, 2021, by

agents from the Department of Homeland Security – Homeland Secretary

Investigations, the U.S. Department of State - Diplomatic Security Service, with

support from various other state and local law enforcement agencies. The restraint of

the assets was duly authorized by issuance of a federal search and seizure warrant

signed by a Magistrate Judge in the Southern District of Georgia.

       Following the execution of the warrant, the Government independently

determined that items 1 and 2 listed above lacked evidentiary value, and had a

tenuous nexus to the charged offenses, therefore they were returned. However, the

Government contends that the remaining assets (Collectively, the “Subject Property”)

are subject to forfeiture pursuant to 21 U.S.C. § 853, as property constituting, or

derived from, proceeds obtained, directly or indirectly, as a result of the charged

offenses, and property used, or intended to be used, to commit, or to facilitate the

commission of the charged offenses.

       Following the seizure the Government made the appropriate filings, to include

a Bill of Particulars (Doc. 89) pursuant to the Federal Rules of Criminal Procedure

Rule 32.2 and a motion for a ‘housekeeping’ order pursuant to 18 U.S.C. §

983(a)(3)(B)(ii)(II) (Doc. 98).
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         Wherefore, based reasons set forth above the Government requests that this

Court grant the Government’s motion (Doc. 98), and permit the United States to

maintain custody of the Subject Property through the conclusion of the pending

criminal case, including any ancillary forfeiture proceedings, and find that the United

States     has   satisfied   the   custody-preservation   requirement      of   18   U.S.C.

§ 983(a)(3)(B)(ii)(II).

         Respectfully submitted this 28th day January 2022.



                                          DAVID H. ESTES
                                          UNITED STATES ATTORNEY

                                           /s/ Xavier A. Cunningham
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                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the Notice of Electronic Filing that was generated as a result of

electronic filing in this Court.

       The 28th day January 2022.



                                          /s/ Xavier A. Cunningham

                                         Xavier A. Cunningham
                                         Assistant United States Attorney
